Case 3:18-bk-33116           Doc 8     Filed 10/13/18 Entered 10/13/18 21:39:01                      Desc Main
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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  DAYTON DIVISION


                                                     )
   In re                                             )     Chapter 7
                                                     )
   DONALD GENE WINTERS and                           )     Case No. 3:18-bk-33116
   HANNAH MARIE WINTERS,                             )
   Debtor(s)                                         )




                     REQUEST OF PRA RECEIVABLES MANAGEMENT, LLC
               FOR SERVICE OF NOTICES PURSUANT TO FED. R. BANKR. P. 2002(g)

  PLEASE TAKE NOTICE that PRA Receivables Management, LLC, as authorized agent for Synchrony

  Bank (Lowes® ConsumerCreditCard [Last four digit of account:8501]), a creditor in the above-captioned

  chapter 7 case, requests, pursuant to Rules 2002 and 9007 of the Federal Rules of Bankruptcy Procedure

  (the Bankruptcy Rules) and sections 102(1), 342 and 1109(b) of title 11 of the United States Code, 11

  U.S.C. §§ 101, et seq. (as amended, the Bankruptcy Code), that all notices given or required to be given

  and all papers served or required to be served in this case be also given to and served, whether

  electronically or otherwise, on:
               Synchrony Bank
               c/o PRA Receivables Management, LLC
               PO Box 41021
               Norfolk, VA 23541
               Telephone: (877) 829-8298
               Facsimile: (757) 351-3257
               E-mail: claims@recoverycorp.com


  Dated: Norfolk, Virginia
  October 13, 2018
                                                         By: /s/ Valerie Smith
                                                         Valerie Smith
                                                         c/o PRA Receivables Management, LLC
                                                         Senior Manager
                                                         PO Box 41021
                                                         Norfolk, VA 23541
                                                         (877) 829-8298

  Assignee Creditor: Lowes® ConsumerCreditCard [Last four digit of account:8501]
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                                    CERTIFICATE OF SERVICE

  I hereby certify that on October 13, 2018, a copy of the foregoing Request For Service of Notices was

  served on the following registered ECF participants, electronically through the court's ECF System at the

  email address registered with the court:


  DOUGLAS ANDREW VENTERS
  Counsel for DONALD GENE WINTERS


  DAVID L MIKEL, Trustee




  US Trustee




                                                      By: /s/ Valerie Smith
